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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

KENNETH BERNARD MILES, et al.,
a/k/a “Kenny Lamar Brown”,
a/k/a “Kent Lamar Brown”,
a/k/a “Kenneth Lamar Miles”,

      Defendant.
___________________________/

                        PRELIMINARY ORDER OF FORFEITURE

       THIS CAUSE IS before the Court on the motion of the United States of America for a

Preliminary Order Of Forfeiture. Being fully advised in the premises, the Court finds:

       1.      On May 25, 2004, a Federal Grand Jury sitting in the Northern District of

Florida issued a Second Superceding Indictment against Defendant.

       2.      The Indictment charged Kenneth Bernard Miles with violations of Title 21,

United States Code, Sections 841.

       3.      The Indictment included a Forfeiture Count, pursuant to Title 21, United

States Code, Section 853.

       4.      On September 30, 2004, the Defendant entered into a Plea and Cooperation

Agreement in which he agreed to forfeit all forfeitable assets to the United States of America.

As such, Defendant’s interest in the following properties is hereby forfeited:

       A.      $30,000.00 U.S. CURRENCY

       B.      2718 EASTWOOD DRIVE, DECATUR, DEKALB COUNTY, GEORGIA

       All that tract or parcel of land lying and being in Land Lot 184 of the 15th District of
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        DeKalb County, Georgia, and being a Part of Lot 11 of Block K, Alexander Estates as
        per plat recorded in Plat Book 73, page 23, DeKalb County Records and being more
        particularly described as follows:

        BEGINNING at an iron pin on the north right of way of Eastwood Drive (50 foot right of
        way) 340.0 feet east of the intersection of said right of way of Eastwood Drive with the
        east right of way of Line Street, running thence north along the east line of Lot 10 of the
        aforesaid subdivision 170.0 feet to an iron pin; running thence east 50.0 feet to an iron
        pin; running thence south and parallel to the east line of Lot 10, 170.0 feet to an iron pin
        located on the north right of way of Eastwood Drive; running thence west along said
        right of way of Eastwood Drive 50.0 feet to an iron pin at the point of beginning, being
        known as 2718 Eastwood Drive as shown on plat of survey for Porter Wheeler and Annie
        Mae Wheeler dated December 31, 1986, by Pearson & Associates, Inc.

        C.       $13,139.76 In Lieu of Real Property Located at 4107 Harvest Ridge Drive,
                 Douglasville, Douglas Co., Georgia

        D.       1830 Hannah Place, Powder Springs, Georgia 30127-1323

        ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 392
        of the 19th District, 2nd Section of Cobb County, Georgia and being Lot 54, Hannah Place
        Subdivision, Unit II as shown in Plat Book 152, Page 90, Cobb County Records, which
        plat is incorporated herein by this reference and made a part of this description.

        E.       461 Ira Street, Atlanta, Georgia

        ALL THAT TRACT OR PARCEL OF LAND lying and being in the City of Atlanta in
        Land Lot 85 of the 14th District of Fulton County, Georgia, and more particularly
        described as follows:

        Beginning at a point on the west side of Ira Street four hundred seventy and six tenths
        (470.6) feet north of the northwest corner of Ira and Richardson Streets, and running
        thence north along the west side of Ira Street thirty three (33) feet; thence west one
        hundred fifty (150) feet to a 10 foot alley; thence south along the east line of said 10 foot
        alley thirty three (33) feet; thence east one hundred fifty (150) feet to the west side of Ira
        Street and the point of beginning, according to plat of survey of Mrs. Georgia Gaston
        made by Harold L. Bush, Registered Surveyor #15, January 12, 1951, a copy being on
        file in the office of Atlanta Title Company, and being improved property known as 461
        Ira Street, S.W., according to the present number of houses in the City of Atlanta.

        F.       Any profits from the sale of 2587 Bankhead Highway, NW, Atlanta, Fulton
                 County, Georgia


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        G.       Any profits from the sale of 2533 Bellview Avenue, Atlanta, Fulton County,
                 Georgia


        ORDERED, ADJUDGED and DECREED that based on the foregoing, the

Defendant’s interest in the above properties is hereby forfeited to the United States pursuant to

the provisions of Title 21 United States Code, Section 853:

        ORDERED, ADJUDGED and DECREED that in accordance with the law, the United

States shall cause to be published at least once, in a newspaper of general circulation, notice of

this Order, notice of its intent to dispose of the property in such manner as the Attorney General

may direct, and notice that any person, other than the defendant, having or claiming a legal

interest in the aforementioned property must file a petition with the Court within thirty (30) days

of the final publication of the notice or receipt of actual notice, whichever is earlier. The United

States shall:

        1.       State in the notice that the petition shall be for a hearing to adjudicate the validity

of the petitioner's alleged interest in the property, shall be signed by the petitioner under penalty

of perjury, and shall set forth the nature and extent of the petitioner's right, title and interest in

the forfeited property and any additional facts supporting the petitioner's claim and the relief

sought; and

        2.       To the extent practicable, provide direct written notice to any person known to

have an alleged interest in the property that is subject of the Preliminary Order of Forfeiture, as a




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substitute for published notice as to those persons so notified. It is further

        ORDERED, ADJUDGED and DECREED that upon adjudication of all third party

interests, this Court will enter a Final Order in which all interests will be addressed.


        DONE AND ORDERED this 29th day of March, 2006


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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